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26   [Additional counsel appear on signature pages]
27

28
        JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
             Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
      Case 4:20-cv-05640-YGR Document 167 Filed 11/20/20 Page 2 of 5



 1                             UNITED STATES DISTRICT COURT

 2                            NORTHERN DISTRICT OF CALIFORNIA

 3                                   OAKLAND DIVISION

 4
     EPIC GAMES, INC.,                              Case No. 4:20-cv-05640-YGR
 5
                   Plaintiff, Counter-defendant,
 6

 7                       v.

 8
     APPLE INC.,
 9
                   Defendant, Counterclaimant.
10

11
     IN RE APPLE IPHONE ANTITRUST                   Case No. 4:11-cv-06714-YGR
12   LITIGATION

13

14

15
     DONALD R. CAMERON, et al.,                     Case No. 4:19-cv-03074-YGR
16

17                                    Plaintiffs,
                                                    JOINT STATEMENT REGARDING
18                                                  VALIDATION OF DOCUMENT
                         v.                         PRODUCTIONS
19
                                                    Judge: Hon. Yvonne Gonzalez Rogers
20   APPLE INC.,

21
                                     Defendant.
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       JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
            Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
       Case 4:20-cv-05640-YGR Document 167 Filed 11/20/20 Page 3 of 5



 1                  Joint Statement: In connection with negotiations concerning a draft protocol to

 2   govern discovery of electronically stored information in the above-captioned actions, Plaintiffs

 3   and Defendant Apple Inc. (“Apple”) (collectively, “the Parties”) filed with the Court a joint

 4   statement on October 26, 2020, stating in part that the Parties continued to meet and confer

 5   regarding validation procedures to test the sufficiency and accuracy of the Parties’ productions.

 6   The Parties stated that they had agreed to either (i) reach agreement on validation procedures by

 7   November 9, 2020, or (ii) if the Parties cannot reach agreement, submit any outstanding issues in a

 8   joint statement to Magistrate Judge Hixson by November 9, 2020.

 9                  On November 9 and 13, 2020, the Parties filed with the Court joint statements,

10   stating that the Parties had agreed to continue negotiations and postponing the deadline by which

11   they would either (i) reach agreement on validation procedures, or (ii) if the Parties cannot reach

12   agreement, submit any outstanding issues in a joint statement to Magistrate Judge Hixson. The

13   current deadline, reflected in the Parties’ joint statement of November 13, 2020, is November 20,

14   2020.

15                  The Parties continue to negotiate and make additional progress but have not yet

16   reached agreement on validation procedures. The Parties have agreed to extend the deadline for

17   submission of an agreement or dispute on this issue to December 2, 2020 at 5:00 p.m. Pacific

18   Time.

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         JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
              Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
      Case 4:20-cv-05640-YGR Document 167 Filed 11/20/20 Page 4 of 5


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 2                                      Gary A. Bornstein
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 3                                      Lauren A. Moskowitz
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 5                                    Respectfully submitted,
 6                                    By:    /s/ Yonatan Even
                                             Yonatan Even
 7
                                            Attorneys for Plaintiff Epic Games, Inc.
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 9   Dated: November 20, 2020         WOLF HALDENSTEIN ADLER FREEMAN &
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                                        Rachele R. Byrd
11                                      Matthew M. Guiney
                                        Brittany N. DeJong
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13                                    Respectfully submitted,
14                                    By:    /s/ Rachele R. Byrd
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                                        Benjamin J. Siegel
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21                                    Respectfully submitted,
22                                    By:    /s/ Robert F. Lopez
                                             Robert F. Lopez
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                                            Interim Class Counsel for Developer
24                                          Plaintiffs
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       JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
            Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
       Case 4:20-cv-05640-YGR Document 167 Filed 11/20/20 Page 5 of 5


      Dated: November 20, 2020                     GIBSON, DUNN & CRUTCHER LLP
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                                                      Mark A. Perry
 3                                                    Veronica S. Lewis
                                                      Cynthia E. Richman
 4                                                    Jay P. Srinivasan
                                                      Ethan D. Dettmer
 5                                                    Eli M. Lazarus
                                                      Harry Phillips
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 7                                                 Respectfully submitted,
 8                                                 By:    /s/ Jay P. Srinivasan
                                                          Jay P. Srinivasan
 9
                                                         Attorneys for Defendant Apple Inc.
10

11

12                                      E-FILING ATTESTATION

13                  I, Jay P. Srinivasan, am the ECF User whose ID and password are being used to file

14   this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

15   signatories identified above has concurred in this filing.

16
                                                                   /s/ Jay P. Srinivasan
17
                                                                  Jay P. Srinivasan
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         JOINT STATEMENT REGARDING VALIDATION OF DOCUMENT PRODUCTIONS
              Case Nos.: 4:11-cv-06714-YGR; 4:19-cv-03074-YGR; 4:20-cv-05640-YGR
